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                      EXHIBIT A

                     Proposed Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)


FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                    Plaintiffs,

                      - against -                               Adv. Pro. No. 23-50437 (JTD)

LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,
                                                                D.I. ___

                                    Defendants.


    ORDER (I) AUTHORIZING PLAINTIFFS TO ENTER INTO THE STIPULATION
     WITH LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, BRANDON
      WILLIAMS, MARTHA LAMBRIANOU, AND MARCEL LOETSCHER, (II)
                      APPROVING THE STIPULATION,
                   AND (III) GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”) 2 of Maclaurin Investments Ltd. and FTX

Trading Ltd. (together, “Plaintiffs”), for entry of an order (this “Order”) (a) authorizing Plaintiffs

to enter into the Stipulation, a copy of which is attached hereto as Exhibit 1, (b) approving the

Stipulation, and (c) granting certain related relief; and this Court having jurisdiction to consider

the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
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Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court being able to issue a final order consistent with Article III of the United

States Constitution; and venue of these Chapter 11 Cases and the Motion in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant

to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion

and the relief requested therein has been provided in accordance with the Bankruptcy Rules and

the Local Rules, and that, except as otherwise ordered herein, no other or further notice is

necessary; and objections (if any) to the Motion having been withdrawn, resolved or overruled

on the merits; and this Court having found and determined that the relief set forth in this Order is

in the best interests of the Plaintiffs and their estates; and that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

                IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      Plaintiffs are authorized to enter into the Stipulation.

                3.      The terms of the Stipulation are approved in their entirety.

                4.      The following proofs of claim are deemed disallowed:

                        a. Proof of Claim No. 4831 filed by Patrick Gruhn;

                        b. Proof of Claim No. 4476 filed by Lorem Ipsum UG;

                        c. Proof of Claim No. 79107 filed by Martha Lambrianou on behalf of

                            FTX EU Ltd.; and

                        d. Proof of Claim No. 79926 filed by Martha Lambrianou on behalf of

                            FTX EU Ltd.




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               5.        The failure to specifically include or reference any particular term or

provision of the Stipulation in this Order shall not diminish or impair the effectiveness of such

term or provision.

               6.        Plaintiffs are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               7.        This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

               8.        This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.


 Dated: ___________________
        Wilmington, Delaware                             The Honorable John T. Dorsey
                                                         United States Bankruptcy Judge




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                        Exhibit 1

                       Stipulation
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)


FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                   Plaintiffs,

                       - against -                              Adv. Pro. No. 23-50437 (JTD)

LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,

                                   Defendants.


                                                 STIPULATION

         This stipulation (“Stipulation”) is being entered into between FTX Trading Ltd. and

Maclaurin Investments Ltd. (together with FTX Trading Ltd., “Plaintiffs” and collectively with

their affiliated debtors and debtors-in-possession, the “Debtors”), and Patrick Gruhn, Robin

Matzke, Lorem Ipsum UG, and Brandon Williams (collectively, “Defendants”), and Martha

Lambrianou and Marcel Lötscher (together with Defendants, the “LI Parties”). Plaintiffs and the

LI Parties are each a “Party” and collectively, the “Parties.”




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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       WHEREAS, on November 11, 2022, Plaintiffs each filed petitions for voluntary relief

under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases” and each a

“Chapter 11 Case”) in the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”), which cases are being jointly administered in the case captioned In re FTX

Trading Ltd., Case No. 22-11068 (JTD) (Bankr. D. Del.);

       WHEREAS, on July 12, 2023, Plaintiffs commenced Adversary Proceeding No. 23-50437

(the “Adversary Proceeding”) in the Bankruptcy Court against Defendants by filing a complaint

[Adv. Pro. D.I. 1], asserting claims, among others, for fraudulent and preferential transfers and for

breach of fiduciary duty (collectively, the “Claims”);

       WHEREAS, the LI Parties have filed motions to dismiss the Chapter 11 Cases of

Maclaurin Investments Ltd. [Ch. 11 D.I. 3399], FTX Trading Ltd. (“FTX Trading”) [Ch. 11 D.I.

3400], FTX Europe AG (“FTX Europe”) [Ch. 11 D.I. 4037], and FTX EU Ltd. (“FTX EU”) [Ch.

11 D.I. 5529] (collectively, the “LI Parties’ Motions to Dismiss”);

       WHEREAS, Robin Matzke has filed a customer proof of claim against FTX Trading Ltd.

(Claim No. 50116 filed on Sept. 10, 2023) (the “Matzke Proof of Claim”), Patrick Gruhn has filed

a proof of claim against FTX Trading Ltd. (Claim No. 4831 filed on June 30, 2023) (the “Gruhn

Proof of Claim”), Lorem Ipsum UG has filed a proof of claim against FTX Trading Ltd. (Claim

No. 4476 filed on June 30, 2023) (the “Lorem Ipsum UG Proof of Claim”), and Martha

Lambrianou has filed a proof of claim against FTX Switzerland GmbH (Claim No. 79926 filed on

September 28, 2023) (the “Lambrianou Proof of Claim” and together with the Matzke Proof of

Claim, Gruhn Proof of Claim, and Lorem Ipsum UG Proof of Claim, the “Proofs of Claim”);

       WHEREAS, the Debtors have filed the Motion of Debtors for Entry of an Order (I)

Authorizing and Approving (A) Entry into, and Performance Under, the Share Purchase




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Agreement and (B) the Purchase and Sale of Certain Shares Free and Clear of Liens, Claims and

Encumbrances and (II) Dismissing the Chapter 11 Cases of Certain Debtors Effective Upon the

Earlier of the Closing or the Termination of the Share Purchase Agreement [Ch. 11 D.I. 5378]

(the “FTX EU Sale Motion”);

       WHEREAS, FTX Europe AG and certain of the LI Parties have entered into a Share and

Asset Purchase Agreement dated as of February 7, 2024 (the “Sale Agreement”);

       WHEREAS, Plaintiffs and the LI Parties have been engaged in good-faith, arm’s-length

negotiations about resolving the Claims in the Adversary Proceeding and the Proofs of Claims;

       WHEREAS, in order to mitigate the expense, burden and inconvenience of litigation, the

Parties desire to finally settle and resolve the Claims asserted against Defendants in the above-

referenced Adversary Proceeding and the Proofs of Claim;

       WHEREAS, the LI Parties have concluded that further prosecution of the LI Parties’

Motions to Dismiss is not warranted in light of the final settlement and resolution of the Claims

and the Proofs of Claim; and

       WHEREAS, Plaintiffs, in the exercise of their business judgment, have concluded that

final settlement and resolution of the Claims against Defendants in the Adversary Proceeding and

the Proofs of Claim in accordance with the terms of this Stipulation is in the best interest of

Plaintiffs, the Debtors, their creditors, and other stakeholders;

       NOW, THEREFORE, IT IS HEREBY STIPULATED by and among the undersigned

counsel for the Parties as follows:

       1.      Bankruptcy Court Approval. This Stipulation among the Parties is subject in all

respects to the approval of the Bankruptcy Court. Pending approval of this Stipulation by the

Court, and subject to the occurrence of the Effective Date, each of the Parties agrees that it is and




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will be bound by this Stipulation and waives any right to object to approval by the Court. Plaintiffs

shall file a motion, in a form reasonably acceptable to Defendants, seeking approval of the

Stipulation (the “Approval Motion”) within fourteen (14) days following execution of this

Stipulation by all Parties or on a date reasonably agreed to by the Parties. In the event that the

Bankruptcy Court declines to approve this Stipulation, or the order approving the Stipulation (the

“Approval Order”) does not become final and non-appealable, this Stipulation shall become null

and void and of no further force and effect.

       2.      Effective Date. The terms of this Stipulation shall be effective upon the Approval

Order becoming final and non-appealable (the “Effective Date”). For the avoidance of doubt, the

effectiveness of this Stipulation is not conditioned on the approval or Closing of the Sale

Agreement.

       3.      Further Adverse Actions. Following execution of this Stipulation by all Parties,

the LI Parties agree that they will (i) refrain from taking, causing, facilitating, coordinating with

respect to, acting in concert in connection with, providing information for or encouraging in any

manner any Adverse Actions and (ii) take all lawful actions to ensure that no Adverse Actions are

taken by any current or former employee, director, shareholder, agent or representative of FTX

Europe or any of its subsidiaries, or any person acting on behalf of or at the direction of, or in

coordination or in concert with, any of the above. “Adverse Action” shall mean filing or causing

to be filed any motion to dismiss any of the pending Chapter 11 Cases, to object to any of the

Debtors’ motions, including but not limited to for approval of a disclosure statement or chapter 11

plan, acquiring any claims against any of the Debtors (except for the acquisition by Patrick Gruhn

of Claim No. 3763 from Calico Capital, f/k/a TigerWit (the “TigerWit Proof of Claim”)), or




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otherwise taking any other action adverse to the Debtors (other than seeking reconciliation of the

amount of the Matzke Proof of Claim).

       4.      LI Parties’ Motions to Dismiss. No later than 5 business days following the

Effective Date, the LI Parties shall file with the Bankruptcy Court a notice withdrawing with

prejudice the LI Parties’ Motions to Dismiss. If the LI Parties’ Motions to Dismiss are not withdrawn

with prejudice within 5 business days following the Effective Date, the Debtors shall have the right,

but not the obligation, to terminate the agreement reflected in this Stipulation by written notice to

the LI Parties. In the event of such a termination, this Stipulation shall become null and void and

of no further force and effect.

       5.      Dismissal With Prejudice. No later than 5 business days following the Effective

Date, Plaintiffs shall file with the Bankruptcy Court a notice of dismissal with prejudice of the

Claims against Defendants in the Adversary Proceeding (the “Notice of Dismissal”).

       6.      Sale Motion. No later than 5 business days following the Effective Date, the

Debtors shall file with the Bankruptcy Court a notice withdrawing the FTX EU Sale Motion with

prejudice.

       7.      Disallowance of Claims. As of the Effective Date, the Gruhn Proof of Claim,

Lorem Ipsum UG Proof of Claim, and the Lambrianou Proof of Claim shall be disallowed and

expunged in their entirety without further order of the Court. The Debtors, or their claims agent,

shall be authorized to reflect such disallowance on the claims’ registry.

       8.      Allowance of Claim. As of the Effective Date, the Matzke Proof of Claim shall be

deemed allowed in an amount to be reconciled; Matzke and the Debtors agree to negotiate and

cooperate in good faith to promptly reconcile the Matzke Proof of Claim.




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       9.      Release of Claims by the LI Parties. As of the Effective Date, the LI Parties, on

behalf of themselves and their affiliates, release the Debtors and their respective current or

former directors, officers, advisors, employees and other affiliates and representatives from all

other claims of any kind whatsoever, whether known or unknown, other than in connection with

the Debtors’ obligations pursuant to the Sale Agreement. The LI Parties expressly represent and

warrant that they have not transferred or purported to transfer, or will transfer or purport to

transfer, any claims against any of the Debtors or any of their affiliates or representatives. For

the avoidance of doubt, this release and representation of no intent to transfer shall not apply to

the reconciled, allowed Matzke Proof of Claim; provided that, Matzke shall not transfer the

Matzke Proof of Claim unless (i) the transferee enters into a written agreement, to which the

Debtors are express third-party beneficiaries, providing that such transferee shall not take any

Adverse Actions in their capacity as creditor under the Matzke Proof of Claim (other than

acquiring claims against the Debtors) but shall remain free to act in their capacity as creditor

under any other proofs of claim they may hold, and (ii) Matzke provides a copy of such

agreement to the Debtors.


       10.     Release of Claims by Plaintiffs. As of the Effective Date, the Debtors (for

themselves and on behalf of their estates, successors and assigns) acquit, waive and forever

discharge, collectively and individually, the LI Parties and their predecessors, successors, and

assigns, and the parties identified on Annex A to this Stipulation, from and against any and all

claims, contracts, disputes, agreements, covenants, demands, obligations, controversies, suits,

cross-claims, torts, costs, losses, attorneys’ fees, damages, liabilities, expenses and causes of

action, whether in law or in equity, whether known or unknown, whether anticipated or

unanticipated, whether suspected or claimed, whether fixed or contingent, whether yet accrued or



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not, whether arising under the Bankruptcy Code or not, and whether damages have resulted from

such or not, of any kind, nature or description, that the Debtors have or could hereafter assert

against the LI Parties, other than in connection with the LI Parties’ obligations pursuant to the Sale

Agreement; provided that, the release of any party identified in Annex A shall not become effective

until the party delivers to Plaintiffs a joinder of this stipulation, on behalf of themselves and their

affiliates, in a form reasonably satisfactory to Plaintiffs, (i) releasing the Debtors under the terms

of Section 9 of this Stipulation as if they were a party thereto, and (ii) agreeing not to take any

Adverse Action. Patrick Gruhn hereby covenants to cause the parties identified in Annex A to

deliver such joinders. The scope of this release or any modification thereto by the Court as part of

its approval of this Stipulation, or the exclusion by the Court of any party identified on Annex A

from the release, shall not affect the validity or effectiveness of this Stipulation. The LI Parties

represent that the information set forth in Annex A is accurate and complete as of the date of this

Stipulation. This release shall not apply to the TigerWit Proof of Claim.

       11.     Reservation of Rights. Except as otherwise set forth in this Stipulation, each Party

reserves any and all rights, claims, and defenses against any other Party.

       12.     No Admission of Wrongdoing. This Stipulation does not constitute an admission

by any of the Parties of any wrongful action or violation of any federal, state, or commonwealth

statutory or common law rights, or any other possible or claimed violation of law or rights. The

Stipulation shall not be construed as an admission of liability.

       13.     Good Faith and Understanding. The Parties expressly represent and warrant that

this Stipulation is given in good faith and acknowledge that execution of this Stipulation is not the

product or result of any duress, economic or otherwise. The Parties represent and warrant that

they have read and understand the terms of this Stipulation. The Parties further represent and




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warrant that each individual signing the Stipulation on behalf of such Party is fully authorized to

sign on behalf of said Party.

       14.     Cooperation. Each Party shall cooperate with each other Party and take such

actions as are reasonably necessary to obtain approval of this Stipulation by the Bankruptcy Court

and entry of the Approval Order, and to effectuate its terms.

       15.     Counterparts. The Parties may execute this Stipulation in multiple counterparts,

each of which constitutes an original as against the Party that signed it, and all of which together

constitute one agreement.

       16.     Jurisdiction and Choice of Law.             The Parties irrevocably consent to the

jurisdiction of the Bankruptcy Court with respect to all matters arising from or related to this

Stipulation, including, without limitation, for purposes of enforcing the terms and conditions of

this Stipulation. This Stipulation shall be governed by the laws of the State of Delaware. In the

event that the Bankruptcy Court declines to approve this Stipulation, or the Approval Order does

not become final and non-appealable, nothing contained herein shall constitute a consent to subject

matter jurisdiction by Defendants in the Chapter 11 Cases or Adversary Proceeding, or a waiver

of any Parties’ rights with respect to subject matter jurisdiction.




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            AGREED BY:

            February 7, 2024

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                                          ANNEX A
                                    RELEASED PARTIES
Released Party                                Relationship/Reason for Release
Kephas Corp                                   PG owns 100%; prepetition and post-petition
                                              IT service provider to debtors; necessary for
                                              FTX EU to restart business; named in
                                              complaint
Kephas Stiftung gGmbH                         PG owns 100%; necessary for FTX EU to
                                              restart business; named in complaint
WIB Technologies Inc                          PG owns 90%; IT service provider to Kephas;
                                              necessary for FTX EU to restart business;
                                              identified in discovery
Stephen Stephens                              Executive officer of Kephas and WIB
                                              Technologies
Max Rhotert                                   Former Managing Director of FTX Trading
                                              GmbH. Will be needed to liquidate the entity.
Cosima LLC                                    BW owns 100%; identified in complaint and
                                              in discovery
DAAG USA LLC                                  PG and BW each own 27%, therefore a
                                              controlling interest
Sheridan Investment Holdings LLC              PG investment vehicle; possible acquirer of
                                              claims against FTX estate
Jürg Bavaud                                   Director at FTX Switzerland GmbH
P&W Digital Assets LLC                        Owned 50/50 by BW (Managing Director)
                                              and PG; was used as a Market Maker /
                                              Liquidity Provider as needed for FTX Europe
                                              entities
P &W Digital Assets Series I LLC              Owned 50/50 by BW (Managing Director)
                                              and PG; was used as a Market Maker /
                                              Liquidity Provider as needed for FTX Europe
                                              entities
Marios Athinodorou                            Former Managing Director at FTX EU Ltd.
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Nayia Ziourti                            Former FTX Trading GmbH (Germany) and
                                         FTX Europe AG employee; to be rehired for
                                         FTX EU to restart business
Nikolas Leventis                         Head of Brokerage at FTX EU Ltd.
Lambda Law GmbH                          RM law practice entity; 100% owned by RM
Gerald Kleinecke                         Former Managing Director at FTX Structured
                                         Products
Henry Raatz                              Former GDPR Officer at FTX EU Ltd.; to be
                                         rehired
